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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: PHILIPS RECALLED CPAP,                  )
    BI-LEVEL PAP, AND MECHANICAL                   )
    VENTILATION PRODUCTS                           ) Master Docket: Misc. No. 21-1230
    LITIGATION                                     )
                                                   )
                                                   ) MDL No. 3014
    This Document Relates to:                      )
    Dale Joseph Burke v. Philips RS North          )
    America LLC, et al., 2:24-CV-654               )
                                               ** ** *

                 RESPONSE OF THE PHILIPS DEFENDANTS1
     TO DALE JOSEPH BURKE’S OBJECTION TO UPCOMING DEADLINES AND
                     DOCKET MANAGEMENT ORDER

        The Philips Defendants submit this response to the Objection to Upcoming Deadlines and

Docket Management Order filed by Plaintiff Dale Joseph Burke (No. 2:24-CV-00654-JFC, ECF

No. 16; the Objection).

        Plaintiff Dale Joseph Burke has sought relief from the orders governing this MDL,

including specifically his deadline to produce his medical records under the Docket Management

Order, ECF No. 2769 (“Docket Management Order”).2            The deadlines set forth in the Docket

Management Order were carefully negotiated approximately one year ago and were entered by the

Court to manage in a coordinated fashion the claims of all Litigating Plaintiffs, including Plaintiff

Burke, “for the purpose of ensuring that further pretrial litigation against the Defendants in this

mature MDL will progress as smoothly and efficiently as possible.” Docket Management Order at



1
 The Philips Defendants are defined as Koninklijke Philips N.V., Philips North America LLC,
and Philips RS North America LLC (“Philips RS”).
2
 Notably, he does not propose any alternative schedule that would apply to him should his motion
be allowed.


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p. 12, ¶ 20. The Philips Defendants served Plaintiff Burke with a Notice of his obligations and

deadlines under the Docket Management Order on February 28, 2025 via first class mail. Notice

of Upcoming Deadlines Under Docket Management Order for Litigating Plaintiffs, 2:24-CV-

00654-JFC, ECF No. 15.

       The Court has previously denied requests for exceptions to the deadlines set forth in the

Docket Management Order. See Mem. Opinion, ECF No. 3249 (denying motion for relief from

Docket Management Order by Graham plaintiffs for failure to show good cause and

acknowledging that “[c]reating individual exceptions and separate timelines could quickly become

unmanageable”).

       The Philips Defendants deny that they “violated” any of Plaintiff Burke’s constitutional

rights, Opposition at ¶¶ 5, 11, in seeking establishment of the deadlines provided by the Docket

Management Order, providing notice thereof to Plaintiff, or otherwise. The Philips Defendants

take no position on whether Plaintiff Burke—an incarcerated individual—has demonstrated good

cause for the Court to provide him additional time to comply with the requirements of the Docket

Management Order, ECF No. 2769.




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Dated: April 10, 2025                 Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2025, the foregoing document was electronically filed

with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.

                                                   s/ John P. Lavelle, Jr.
                                                   John P. Lavelle, Jr.
